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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                     )
In re                                                                )    Chapter 11
                                                                     )
ENERGY FUTURE HOLDINGS CORP., et al.,1                               )    Case No. 14-10979 (CSS)
                                                                     )
                                     Debtors.                        )    Jointly Administered
                                                                     )

           ORDER GRANTING MOTION OF THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS FOR AN ORDER REGARDING CREDITOR
          ACCESS TO INFORMATION AND SETTING AND FIXING CREDITOR
          INFORMATION SHARING PROCEDURES AND PROTOCOLS UNDER
                     11 U.S.C. §§ 105(a), 107(b), AND 1102(b)(3)(A)

         Upon the motion (the “Motion”)2 of the Official Committee of Unsecured Creditors (the

“TCEH Committee”) of Energy Future Competitive Holdings Company LLC (“EFCH”),

EFCH’s direct subsidiary, Texas Competitive Electric Holdings Company LLC (“TCEH”) and

their direct and indirect subsidiaries, and EFH Corporate Services Company (collectively with

EFCH and TCEH, the “TCEH Debtors”, and collectively with the remaining consolidated

above-captioned debtors, the “Debtors”), pursuant to Bankruptcy Code sections 105(a), 107(b)

and 1102, as supplemented by Bankruptcy Rule 9018, for entry of an order providing that the

TCEH Committee shall not be required under section 1102(b)(3)(A) of the Bankruptcy Code to

provide the unsecured creditors it represents access to confidential and other nonpublic

proprietary information or privileged information, except as set forth in the Protocol in paragraph

four herein; and upon the joinder (the “Joinder”) to the Motion filed by the official committee of

unsecured creditors (the “EFH Committee”, together with the TCEH Committee, the

1
  The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted on a final basis, a complete list of the debtors and the
last four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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“Committees”, and each a “Committee”) of Energy Future Holdings Corp. (“EFH”), Energy

Future Intermediate Holding Company, LLC (“EFIH”), EFIH Finance, Inc. (“EFIH Finance”),

and EECI, Inc. (collectively with EFH, EFIH, and EFIH Finance, the “EFH Debtors”, and

together with the TCEH Debtors and the remaining consolidated above-captioned debtors, the

“Debtors”); and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief

being a core proceeding the Court can determine pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Motion and the Joinder having been served, and it appearing that no other or further notice need be

provided; and the Court having reviewed the Motion and the Joinder; and the Court having

determined that the legal and factual bases set forth in the Motion as modified herein establish just

cause for the relief granted herein; and upon all of the proceedings had before the Court and after

due deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

   1. The Motion is granted as provided for herein.

   2. Notwithstanding anything contained in Bankruptcy Code section 1102(b)(3)(A) to the

       contrary, the(a) neither Committee (a) shall not be required to disseminate any

       Confidential Information or Privileged Information to any unsecured creditor such

       Committee represents, other than as provided in the Protocol, and (b) each Committee shall

       be deemed to be in compliance with its obligations under Bankruptcy Code section

       1102(b)(3)(A).

   3. In accordance with section 1102(b)(3)(A) and (B) of the Bankruptcy Code, the Committee

       isCommittees are authorized to, until the earliest to occur of (1a) (i) dissolution of thesuch

       Committee, (2ii) dismissal, or (3iii) conversion of the TCEH Debtors’, EFH Debtors’, or



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       the Debtors’ chapter 11 cases, as applicable, (b) and a further order of the Court, establish

       and maintain an Interneteither a joint or separate internet-accessed websitewebsites (the

       “Committee Website”), and if two such websites are established, each a “Committee

       Website”), that provides, without limitation:

             a. general information concerning the Debtors, including, case docket,
                access to docket filings, and general information concerning
                significant parties in the cases;

             b. a calendar with upcoming significant events in the cases;

             c. access to the claims docket as and when established by the Debtors
                or any claim agent retained in the case;

             d. a general overview of the chapter 11 process;

             e. press releases (if any) issued by each of the CommitteeCommittees
                and the Debtors;

             f. a non-public form to submit creditor questions, comments and
                requests for access to information;

             g. responses to creditor questions, comments and requests for access to
                information; provided, that theeach Committee may privately
                provide such responses in the exercise of its reasonable discretion,
                and with the prior consent of the Debtors, to the extent such
                information includes Confidential Information regarding the
                Debtors, the release of which the Debtors have not previously
                consented including in the light of the nature of the information
                request and the creditor’s agreements to appropriate confidentiality
                and trading constraintssubject to the Protocol;

             h. answers to frequently asked questions; and links to other relevant
                websites.

   4. Kurtzman Carson Consultants shall be permitted to serve as administrative agent for the

       Committee Website without further order of the Court, and shall be compensated as an

       expense item in counsel to the Committee’s fee applications.

             i. links to other relevant websites.




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   4. 5. The following Protocol is approved for the dissemination of information to any entity

       (all references to “entity” herein shall be as defined in Bankruptcy Code section 101(15),

       “Entity”) that either of the Committees represents:

       A.      Confidential and Privileged Information:

               1.       TheNeither Committee shall not be required to disseminate to any Entity
               that it represents, without further order of the Court:

                      a)      confidential, proprietary, or other non-public proprietary
                      information concerning the Debtors or thesuch Committee, including
                      (without limitation) all matters discussed at Committee meetings (whether
                      or not memorialized in any minutes thereof), any information or material
                      (whether written, electronic or oral) distributed to a member of thesuch
                      Committee or its representatives and any information or material (including
                      any notes, analysis, compilations studies, interpretations, memoranda or
                      other documents and writings prepared by thesuch Committee or its
                      professionals) that contains information received from the Debtors or their
                      representatives, in each instance, that is not generally available to the public
                      (collectively, the “Confidential Information”); or

                      b)       any other information if the effect of such disclosure would
                       constitute a general or subject matter waiver of the attorney-client, work
                       product, or other applicable privilege possessed by thesuch Committee
                       (collectively, the “Privileged Information”).
               2.      c) Notwithstanding anything herein to the contrary, any information (the
               “Discovery Information”) received (formally or informally) by theeither
               Committee from any Entity in connection with an examination pursuant to Rule
               2004 of the Federal Rules of Bankruptcy Procedure or in connection with discovery
               in any contested matter, adversary proceeding or other litigation, including, but not
               limited to, the Confidentiality Agreement and Stipulated Protective Order [Docket
               No. 1833 Order [Docket No. 1833] and the Order Establishing Discovery
               Procedures in Connection with Legacy Discovery of Energy Future Holdings
               Corporation, its Affiliates, and Certain Third Parties and Other Related Matters
               [Docket No. 1832], each entered on August 13, 2014, shall not be governed by the
               terms of this Protocol but, rather, by any order governing such discovery or by
               mutual agreement of the Committee receiving such Discovery Information and the
               Entity producing such Discovery Information.

               3.      2. The Debtors shall make reasonable efforts to assist the
               CommitteeCommittees in identifying any Confidential Information concerning the
               Debtors that is provided by the Debtors or their agents or professionals, or by any
               third party, to theeither Committee, its agents and professionals. Any documents,
               information or other materials designated by the Debtors as confidential shall be

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               treated as Confidential Information for purposes of this Protocol, subject to any
               rights parties may have in this Order.

       B.      Creditor Information Requests:

               1.     If a creditor that either Committee represents (the “Requesting Creditor”)
               submits a written request to the Committee (the “Information Request”) for the
               Committee to discloseto the Committee that represents the Requesting Creditor (in
               such case, the “Responsible Committee”), for the Responsible Committee to
               provide information, the Responsible Committee shall

                      a)      as soon as practicable, but no more than thirtytwenty (3020) days
                      after receipt of the Information Request, provide a response to the
                      Information Request (the “Response”), including providing access to the
                      information requested or the reasons the Information Request cannot be
                      complied with; and

                      b)       if the Information Request seeks the Debtors’ Confidential
                      Information, provide the Debtors with (i) notice of the Information Request
                      within ten (10) business days of the receipt of the Information Request and
                      (ii) a copy of the Response at least five (5) business days prior to providing
                      the Response to the Requesting Creditor. If the Response is to deny the
                      Request because the Committee or the Debtors (to the extent the Request
                      references Confidential Information regarding the Debtors or their
                      non-Debtor affiliate, Oncor Electric Delivery Holdings Company LLC or
                      its subsidiaries) believeResponsible Committee believes the Information
                      Request implicates Confidential Information or Privileged Information that
                      need not be disclosed pursuant to the terms of this Protocol or otherwise
                      under 11 U.S.C. § 1102(b)(3)(A), or that the Information Request is unduly
                      burdensome, the Responsible Committee shall notify the Debtors or any
                      third-party Entity, as applicable, of that determination to the extent the
                      request implicates such party’s information. The Requesting Creditor may,
                      after a good faith effort to meet and confer with an authorized
                      representative of the Responsible Committee (and an authorized
                      representative of the Debtors or the third-party Entity, as applicable)
                      regarding the Information Request and the Response, seek to compel such
                      disclosure for cause pursuant to a motion and hearing. Such motion shall be
                      served and the hearing on such motion shall be noticed and scheduled. for
                      the next available omnibus hearing at least 14 days from the date of the
                      motion, or such other date as the Court is available, unless the Court grants
                      otherwise. Nothing herein shall be deemed to preclude the Requesting
                      Creditor from requesting that the Court conduct an in camera review of any
                      information specifically responsive to the Requesting Creditor’s request
                      that the Responsible Committee claims is Confidential Information or
                      Privileged Information. If the Response is to provide Confidential
                      Information, the Responsible Committee shall only provide such
                      information in accordance with section 4(C) hereof.

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                      c)       In its Response to an Information Request for access to Confidential
                      Information or Privileged Information, the Responsible Committee shall
                      consider, (if the Information Request seeks the Debtors’ Confidential
                      Information, together with the Debtors,) whether (A) the Requesting
                      Creditor is willing to agree to reasonable confidentiality and trading
                      restrictions with respect to such Confidential Information and represents
                      that such trading restrictions and any information-screening process
                      complies with applicable securities laws; and (B) under the particular facts,
                      such agreement and any information-screening process that it implements
                      will reasonably protect the confidentiality of such Confidential
                      Information; provided, however, that if the Responsible Committee, and, as
                      applicable, the Debtors, elect(s) to provide access to Confidential
                      Information on the basis of such confidentiality and trading restrictions,
                      neithernone of the Debtors nor, the TCEH Committee or the EFH
                      Committee shall have responsibility for the Requesting Creditor’s
                      compliance with, or liability for violation of, applicable securities or other
                      laws. Any disputes with respect to this paragraph shall be resolved as
                      provided in the preceding paragraph, and, to the extent applicable, the next
                      paragraph.


       C.      Release of Confidential Information of Third Parties:

               1.      If the Information Request implicates Confidential Information of the
               Debtors (or any otherthird-party Entity) and the Responsible Committee agrees that
               such request should be satisfied, or if the Responsible Committee on its own wishes
               to discloseprovide such Confidential Information to creditors, the Responsible
               Committee may make a request (the “Committee Information Request”) for the
               benefit of the Debtors’ creditors:

                      a)     if the Confidential Information is information of the Debtors, by
                      submitting a written request, each captioned as a “Committee Information
                      Request,” to counsel to the Debtors at (a) Kirkland & Ellis LLP, 601
                      Lexington Avenue, New York, NY 10022 (Attn.: Brian E. Schartz) and &
                      Aparna Yenamandra), Kirkland & Ellis LLP, 300 North LaSalle, Chicago,
                      IL 60654 (Attn: Chad J. Husnick), and Kirkland & Ellis LLP, 555
                      California Street, San Francisco, CA 94104, (Attn: Mark E. McKane,
                      Michael P. Esser, Kevin Chang) (“Debtors’ Counsel”), stating that such
                      Confidential Information will not be disclosedprovided in the manner
                      described in the Committee Information Request without the Debtors’ prior
                      consent (which shall be provided or denied on a reasonably prompt basisno
                      later than seven (7) business days from receiving the Committee
                      Information Request); and, if the Debtors’ deny such Committee
                      Information Request, the Debtors shall engage in good faith discussions
                      with the Responsible Committee and the Requesting Creditor regarding the
                      denial. The Requesting Creditor and/or the Responsible Committee may


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                      schedulefile a hearingmotion with the Court seeking a ruling with respect to
                      the Committee Information Request under 11 U.S.C. §§ 704(a)(7) &
                      1106(a)(1). Such motion shall be noticed and scheduled for the next
                      available omnibus hearing at least 14 days from the date of the motion, or
                      such other date as the Court is available, unless the Court grants otherwise;
                      and

                      b)      if the Confidential Information isRequest implicates information of
                      anothera third-party Entity, by submitting a written request to such Entity
                      and its counsel of record, with a copy to the Debtors’ Counselwithin seven
                      (7) business days of the receipt of such Information Request, stating that
                      such information will be disclosedprovided in the manner described in the
                      Committee Information Request unless such Entity objects to such
                      Committee Information Request on or before tenseven (10) business7) days
                      after the service of such Committee Information Request; and, after the
                      lodging of such an objection, the Responsible Committee, the Requesting
                      Creditor, such Entity and the Debtors may schedule a hearing with the
                      Court seeking a ruling with respect to the Committee Information Request.
                      Such motion shall be noticed and scheduled for the next available omnibus
                      hearing at least 14 days from the date of the motion, or such other date as
                      the Court is available, unless the Court grants otherwise.

                      c)      In the event of any objection to the disclosure of Confidential
                      Information pursuant to this paragraph four, no such information shall be
                      disclosedprovided until such time and to the extent provided in an order by
                      the Court that has become final and non-appealable.


       D.      Confidentiality Agreements:

               1.      Notwithstanding anything contained herein, (a) unless the Court orders
               otherwise with respect to a Committee Information Request, theneither Committee
               shall not provide any Confidential Information of the Debtors to any third-party
               without the third-party executing an appropriate confidentiality agreement with the
               Debtors in a form and substance satisfactory to the Debtors and (b) the relief
               granted pursuant to this Motion shall be subject in all respects to the confidentiality
               agreements executed by and between the Debtors and each of the
               Committee’sCommittees’ professionals and the bylaws governing the operation of
               each of the CommitteeCommittees.

       E.      No Obligation to Disseminate to Non-Creditor:

               1.     Each Requesting Creditor must include in any Information Request
               information regarding its claim against the Debtors sufficient to satisfy the
               Responsible Committee, in its sole discretion, that such Requesting Creditor holds
               claims of the kind represented by the Responsible Committee. Nothing in this
               Protocol requires theeither Committee to provide access to information or solicit

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               comments from any Entity that has not demonstrated to the satisfaction of the
               Responsible Committee, in its sole discretion, or to the Court, that it holds claims of
               the kind described in Bankruptcy Code section 1102(b)(3).

       F.      Exculpation:

               1.       None of the Debtors, the TCEH Committee, the EFH Committee or any of
               their respective directors, officers, employees, members, attorneys, consultants,
               advisors and agents (acting in such capacity) (collectively, the “Exculpated
               Parties”), shall have or incur any liability to any Entity (including the Debtors and
               their affiliates) for any act taken or omitted to be taken pursuant to the procedures
               set forth herein; provided, however, that the foregoing shall not affect the liability
               of any Exculpated Party protected pursuant to this paragraph that otherwise would
               result from any such act or omission to the extent that such act or omission is
               determined in a final non-appealable order to have constituted a breach of fiduciary
               duty, gross negligence, or willful misconduct, including, without limitation, fraud
               and criminal misconduct, or the breach of any confidentiality agreement or order.
               Without limiting the foregoing, the exculpation provided in this paragraph shall be
               coextensive with any Exculpated Party’s qualified immunity under applicable law.

   5. 6. Confidential Information and Privileged Information shall not be disseminated to any

       Entity that either Committee represents other than as set forth in the Protocol, the

       Confidentiality Agreement and Stipulated Protective Order [Docket No. 1833], entered on

       August 13, 2014, or any other order governing such discovery.

   6. 7. The Court shall retain jurisdiction to hear and determine all matters arising from the

       implementation of this Order.



Dated: New York, New YorkWilmington,
Delaware
       OctoberDecember ___, 2014                     The Honorable Christopher S. Sontchi
                                                     United States Bankruptcy Judge




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Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
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Statistics:
                    Count
Insertions                            100
Deletions                              66
Moved from                              4
Moved to                                4
Style change                            0
Format changed                          0
Total changes                         174
